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                Exhibit A
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                                                                                     COR001
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                                                                                     COR002
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                                                                                     COR003
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                                                                        COR004
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                                                                        COR005
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